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                         DECLARATION OF JENNIFER BABAIE

                 LAS AMERICAS IMMIGRANT ADVOCACY CENTER

I, Jennifer Babaie, make the following declaration based on my personal knowledge and declare
under penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true and correct.

   1. I am a licensed attorney and a member in good standing of the California Bar. I have
      been the Advocacy and Legal Services Director at Las Americas Immigrant Advocacy
      Center (“Las Americas”) since January 2023. Prior to joining Las Americas, I worked in
      various related positions. Starting in 2018, I worked as a supervising attorney and
      program director at the International Refugee Assistance Project, where I represented
      refugees, asylum seekers, and others seeking humanitarian assistance and family
      reunification, and I ran a cross-border program focused on providing direct legal services
      to persons in Ciudad Juarez seeking access to safety and family reunification in the
      United States.

   2. On January 29, 2025, President Donald Trump issued an Executive Order instructing the
      Secretaries of Defense and Homeland Security to take all necessary steps to “expand the
      Migrant Operations Center at Naval Station Guantánamo Bay to full capacity,” and the
      government has been taking steps toward detaining up to 30,000 noncitizens transferred
      from the United States to Guantánamo.

   3. I am submitting this declaration to describe the difficulties Las Americas continues to
      face in accessing individuals, including clients, detained at Guantánamo.

   5. The expansion of Guantánamo as an immigration detention site marks a drastic shift in
      U.S. immigration policy and directly undermines Las Americas’ ability to provide free
      legal representation to detained immigrants. Many of the individuals subject to transfer
      are the same asylum seekers we typically serve in ICE detention centers in Texas and
      New Mexico. Offshoring their detention prevents Las Americas from offering them
      timely legal services and effectively places the detainees in a legal void where they
      cannot meaningfully assert their rights.

   6. A crucial part of our legal representation is the need for access to the individual we are
      considering for representation and those we do represent. In the Otero County Detention
      Center (“Otero”) and El Paso Processing Center (“El Paso”), we are typically able to
      access our clients either by telephone or in-person within 24-48 hours, or even faster. The
      ability to access clients and potential clients on a timely and confidential basis is vital to
      our operation and to the ability of people in custody to meaningfully pursue legal avenues
      towards relief and release.

   7. The barriers to attorney access at Guantánamo impede Las Americas’ ability to provide
      effective legal representation to our clients. Until February 20, 2025, no information has
      been provided about attorney access protocols at Guantánamo. On that day, the
      government shared in litigation documents that attorneys with G-28 forms on file will be
      able to request legal calls by following instructions on ICE.gov. However, I have been
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   monitoring ICE’s website regularly and still do not see any information for how lawyers
   can request calls with detainees at Guantánamo. As of February 28, 2025, the website
   still did not include this information.

8. The fact that ICE seems to require a G-28 on file is also extremely problematic and
   inconsistent with practice in the United States. In order to determine whether an
   individual qualifies for our free legal services, they must first agree to participate in a
   legal screening interview with a member of our staff or a trained intake volunteer. This
   initial screening is designed to collect as much information as possible so that a staff
   attorney can review it before determining (a) whether more information is needed before
   we can make a decision, and/or (b) if they qualify for a legal pathway, and finally (c) if
   we have capacity and resources and knowledge to help them pursue that pathway.
   Requiring a G-28 in advance of first contact would effectively preclude us from offering
   services to anyone post-transfer unless we had already initiated an attorney-client
   relationship with them prior to the transfer.

9. The lack of any attorney visitation at Guantánamo is also extremely worrisome. In-person
   meetings allow us to visually observe how an individual is handling conditions in
   detention, take note of evidence relevant to their case that they may have on hand (like
   scars or physical evidence of torture), exchange and review documents, and collect ink
   signatures. In-person meetings also encourage the exchange of sensitive information that
   some feel hesitant to share by phone and help us guarantee confidentiality since we do
   not need to rely on the facility to exchange records.

10. To date, the U.S. government has not provided accurate information on how to determine
    whether an individual is at Guantánamo, how an attorney may arrange for a legal call
    there, and whether an individual seeking post-order relief would be forced to remain in
    Guantánamo. Instead, we have had to monitor the ICE detainee locator, where you can
    input an individual’s A-number to try to find their location. When we did so for certain
    individuals we had assisted, the location listed was “Florida” and it instructed us to call
    the ICE field office in Plantation, FL. Upon calling the number, there was an automated
    message in English. The automated message then directs the caller to put in an extension
    for the person they want to speak with. Since there is no means of us obtaining an
    extension, we attempted to reach the directory by dialing 1#. However, the automated
    message again asked for an extension. But again, we did not have an extension or a
    means of obtaining an extension because the directory line did not work. We then
    received a warning from the automated system that the line will be cut without an entry
    typed in. A few seconds later, the line was cut.

11. In sum, there is no actual or feasible means of reaching a person through the phone
    number listed on the ICE detainee locator. As a result, we still have not been able to
    either confirm that an individual is at Guantánamo directly with the government, or
    initiate contact with a detainee at Guantánamo, despite multiple and repeated attempts.
    This has impeded our efforts to assist several individuals in detention whom we had been
    working with prior to their transfers.
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